                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN




UNITED STATES OF AMERICA,

                   Plaintiff,
v.
                                                     Case No. 18-CR-154

VAN MAYES,

                   Defendant.




                           SENTENCING MEMORANDUM




     The following is provided to the court to assist in fashioning

a sentence which is “sufficient, but not greater than necessary,”

to effectuate the objectives of justice. (18 U.S.C. 3553)

     Van Mayes emerged from an upbringing steeped in chaos and

dysfunction    to    become       one    of    Milwaukee’s       most    influential

community activists. Van was born in Milwaukee, but moved to

Greenwood, Mississippi when he was                four    so that he could be

raised by his great uncle. He moved from Milwaukee because his

mother did not have a stable residence where she could raise her

children.    Van    was   sent     to   Mississippi      and     his    brothers   and
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sisters were sent to other cities. There, family dynamics were

both positive and negative. As he grew from a small child until

age 15, he was subjected to the verbal and physical abuse of his

great uncle’s wife. He resided with the couple’s own son, who was

treated in a dramatically more favorable way than was Van. The

couple’s son was the subject            of     bullying and Van became his

protector. Van was enrolled in both private school and public

school where he earned excellent grades, despite the violence and

difficulties created by his great aunt. During this time, Van

lived away from his siblings.

     Eventually, Van’s great uncle and aunt divorced and Van was

sent back to Milwaukee, where the plan was for him to be reunited

with his mother. That never came to fruition because his mother

was still without a stable residence. He was instead sent to live

with his grandmother with whom he remained for a few months.

However, in short order, he began a course of itinerant housing.

Van lived on the streets, essentially homeless, relying upon the

kindness   of   friends    and   distant       relatives.       His    evenings   were

spent on porches, in basements and in any other location where

someone would allow him refuge.

     Van   began   to     associate   with      friends     who       were   similarly

situated. At one point, he was caught riding in vehicles which


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had been stolen by his friends. These police contacts resulted in

referrals to children’s court. From age 15 until age 18, he lived

either in the streets or in the group homes which had been court

ordered. It is noteworthy that Van’s involvement in the juvenile

system was limited to being a passenger in stolen vehicles and as

such, Van was never sent to Whales or Lincoln Hills.

     For Van’s entire life, his father was a non-factor. His dad

was in and out of prison for robbery and other criminal offenses.

The two essentially remained estranged with the exception of an

occasional phone call or letter. Unquestionably, Van’s father was

not a positive factor in his development, nor was he a role

model. When Van lived in Mississippi, he worked for his great

uncle at a car lot and did chores for the household. When he

returned   to    Milwaukee,    he    obtained      a    janitorial       job    at   the

Hillside Resource Center, at which he worked until age 18. He

also was employed, on a seasonal basis, for a lawn care service.

From age 15 to age 18, Van supported himself while also relying

upon the resources of the group home.

     When Van returned to Milwaukee, he attended several high

schools,   including      North     Division,      Project       Excel    and    King.

Ultimately, he received his high school diploma, on time, in

2007,   from    Project   Stay.     After   high       school,   Van     returned    to


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Mississippi        where   he   again   worked    at     his     great    uncle’s      car

dealership. He managed the car lot, performed mechanical services

and provided security work for the business. While Van was in

Mississippi, on this second occasion, he was on probation from

the state of Wisconsin. As an 18 year old, in 2005, he had been

convicted     of    operating     without      owner’s    consent        and   had    been

placed on supervision.

       After a year and a half, Van returned to Wisconsin. He began

a relationship with a woman with whom he had three children. They

are now 17, 15 and 14 years old. His 15 year old son has been

living with him in Milwaukee for the last two years. The other

two children reside in North Carolina with their mother. Van

keeps in constant contact with the two out of state children by

phone, during summer vacations, some weekends and holidays. Van

is solely responsible for the care of the child who currently

resides with him.

       The relationship with the mother of his children was fraught

with problems, most of which were precipitated by her. She would

make    unsubstantiated         accusations       to     Van’s     probation         agent

alleging that he had engaged in various violations. The majority

of these claims were founded in little or no truth. Eventually,

Van’s supervision was revoked and he was sent to prison for 18


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months.    When     he    was     released,       he     successfully         completed        his

extended supervision. Of further note, is that when he returned

to Wisconsin from Mississippi, his supervision would have been

deemed completed, but fees and restitution had not been paid. Van

did secure those funds which were placed in an account. However,

the money was never transferred to the Department of Corrections.

He was therefore deemed to be noncompliant and his probation was

extended. It is clear that Van’s incarceration would never had

been    ordered     had    the    fees     been     transferred         by    the       probation

department,        because       the      claimed        violations          involving         his

children’s       mother    occurred        during       the    extension          period.      This

singular conviction is the only criminal blot against his record.

       Prison      can    produce        multiple        consequences             and    can    be

impactful     in    a    number     of    ways,     many       of    which    are       negative.

However,    in     Van    Mayes’    case,        his    involvement          in    the    justice

system and the process of incarceration was transformational. He

watched as he became embroiled in an administrative snafu and

false allegations and unwarranted imprisonment. As he served his

sentence,        and      upon     release,            these        injustices          generated

inspiration to fight back.

         Initially, Van began to pay attention to demonstrations

throughout       the      country        which     were        in     protest       of     police


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misconduct, discriminatory treatment and racial inequality. He

traveled to different cities to attend protests designed to bring

attention to these issues. His initial period of social activism

was as an observer. However, Van soon realized that there was

much more that could be done and should be done proactively. He

began to meet with other leaders in Milwaukee to learn about the

etiology of community and racial problems, as well as efforts

that were being expended to address them. He began to organize

his own protests and acquire the skills needed to make effective

public statements. He acquired experience which allowed him to

assist community activists in other cities. He was able to share

his own experiences with these individuals and clearly made an

impact on the effectiveness of their own efforts.

      The    next        phase   of   Van’s       development      evolved    from    a

realization        that      there    were      ways      of     addressing     social

inequalities in addition to, and more effectively than, protests.

It   was    from    that    appreciation       that     Comforce    became    reality.

Comforce     was    an     organizational      entity     which    was    designed   to

provide affirmative efforts to stop community inequities. It had

a    dual   objective       of   disrupting       the    cycle     of    violence    and

reestablishing the safety of the community. Van, Comforce and

it’s associates began and to engage in wide ranging activities,


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both    in   Milwaukee,          and   in    other      communities          throughout     the

country.      The following is only a sample of the activities in

which Comforce initially began to engage:

       •     When Van worked at the 8th Street B.P. gas station, he

             saw that the business was being targeted/harassed by the

             police.       He began filming the officer’s activities and

             contacted the department to share his recordings. Van

             was able to act as a middleman and to effectuate an end

             to the police interference.

       •     On    many    nights,      Van,        acting   alone,     would      conduct    a

             community patrol. During the evening, he would watch if

             police       engaged       in     inappropriate           or     discriminatory

             behavior and would, in fact, intervene if he though that

             the incidents would escalate into an act of violence.

       •     Van   and     Comforce      would        organize    protests        to    address

             current      issues       which    reflected        racial       and/or     police

             inequities.

       •     Van began recording clips of protests to show them in a

             different light instead of being portrayed exclusively

             in a negative fashion.

       •     Van   went     to    Flint,     Michigan        during     the     water    poison

             crisis       and    handed        out,     door     to    door,      water     and


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           informational materials.

     As Van transition from being a participant in protests to a

community activist, he realized that there was much to do within

his own community. It did not take long to realize that the

Sherman Park area, in which he resided, was a magnet for problems

of all sorts. The park itself was a large structure-less area,

with the exception of this facility which housed the Boys and

Girls Club. The Club serviced a limited amount of children, but

the park itself was a meeting point for hundreds of neighborhood

children   who    could    not    afford       to   attend   the     Club     and   whose

families were in significant states of disarray.

     The   children       came    to   Sherman       Park    where        there   was   no

structure, but unlimited opportunity for undisciplined behavior.

The park became a target of law enforcement, who believed that it

was a hot bed of unrest. There were acts of violence and law

enforcement      harassment.       When    Van      observed       that    hundreds     of

children were in the park 10-16 hours a day with no services,

resources or supervision, he decided to intervene. Sherman Park

had become a meeting point for which children all over the city

who tended to gravitate. It therefore created a potential for

enormous problems, as well as potential success.

     In response, Van created “Program the Parks.” With no money


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and only contributions from friends and associates, he began to

provide   food,   mentorship,         leadership,    supervision,      opportunity

and safety for children of all ages. In the summer of 2016, all

day long Van was in the park, grilling and providing food to

anyone who attended.

      As the days progressed, more and more children arrived and

he realized this was a golden opportunity to provide structure

for their lives. Through social media, Van solicited money and

resources    which    allowed    him    to    initiate   day    long   activities.

Activities included games, storytelling, job preparation, arts

and crafts, gardening and tumbling. There were pop-up concerts by

musicians and lessons in different arts and musical instruments.

Soon the children had a safe place where they could fill their

days with positive activities, receive general nutrition and have

supervision     all    of     which     generally    precluded       inappropriate

interaction with law enforcement. The program was a tremendous

success to such an extent that it partnered with Pastor Campbell

who   allowed   the   project      to   continue    at   one    of   his   church’s

buildings during the winter and during inclement weather. Program

the Parks served as many as 300 children a day. Their presence

also served a secondary purpose: to give their parents the solace

that their children were in a safe place.


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      Today,     Comforce    is     a   wide      ranging     organization        with

different divisions and different objectives. It has been funded

by a subcontracted grant through the city of Milwaukee for the

last two to three years. Comforce recently received a significant

national grant from the COALITION TO ADVANCE PUBLIC SAFETY. It is

a   violence    prevention     grant    which     is   designed      to     strengthen

Comforce’s capacity. HEALTH ALLIANCE FOR VIOLENCE INTERVENTION

will oversee the grant. It will allow the organization to expand,

meet payroll and compete against much larger community advocacy

programs. Comforce has also received grants from Voting Voices

for voting promotion and protection and civic engagement. The

objective of this is to maximize access to the polls and to

protect     voting   rights.      Comforce      has    also      received     national

disaster relief grants as well as other funding for its “lock-

ins” and Juneteenth events. It received funds from the Greater

Milwaukee      Foundation    for    Covid       relief.     This    money      allowed

Comforce members to take information, masks, sanitizing materials

and gloves to local residents during the pandemic.

      Van, Comforce and it’s members engage in daily activities to

promote the safety and security of Milwaukee and to address the

adversities which emanate from financial and housing hardship.

The following, again, provide a mere sample of the engagement of


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the program:

     •   Van    joined      with       Pastor    Campbell,        who     allowed       the

         organization to utilize his facilities at a building,

         which is owned by the church. The program serves between

         80 and 300 children, six days a week, by providing wide

         ranging educational and entertainment opportunities. Van

         ensures    that        the       children    can    attend      by    providing

         transportation to and from the church building. He has

         enlisted the assistance of parents, who volunteer their

         services. The programs include Karate and Mixed Martial

         Arts    lessons;         assistance         with    homework;         a     single

         parent’s club, which provides diapers, free clothes and

         breast pumps; a room which holds free standing games and

         activities;        a    music       studio;       barber;      hair       styling;

         hygiene lessons; a meal program; tutoring; and media

         training. Van also designed and created a project called

         “Locked    In.”        As    a     result    of    the   violent          shooting

         relating to the Bucks championship near the Fiserv, it

         became apparent that there was a need for a night time

         program where children could go to avoid the violence of

         the    streets     and       instability      of    their    own      homes.    On

         different nights and at different locations, there is a


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     safe space, which has been created through the auspices

     of Comforce, where children can come all night to have

     food, activities and friendship. The “Locked In” program

     uses   space       provided    through       partnerships      with        other

     organizations throughout Milwaukee.

•    Comforce also engages in investigative efforts. Through

     social media, it serves as a resource if there is a

     “call for service.” Strangers or community members will

     contact    Van     or   members       of   Comforce    if   there      is    an

     incident        which    has     not       been     addressed         by     law

     enforcement, or which can be better defused by non law

     enforcement community activists. By example, if there is

     a    missing       person      who     law     enforcement        has       not

     sufficiently investigated, Comforce may become involved.

     Community members may call Comforce for wellness checks

     for family members or others. Members of Comforce are

     called     to    de-escalate        potential       domestic     and       other

     violence. There are occasions in which a call is made

     expressing       concern    about      the   well-being     of    a    family

     member    who    has    been   subjected       to    physical     or       other

     violence and may not be in a safe position. Van and his

     team will assist in taking the individual to a safe


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     location or can refer the individual to other resources

     within the community. This has been a highly successful

     part of the Comforce program.

•    Comforce members engage in poll work, often partnering

     with “Wisconsin Voices” or “All Voting is Local.” The

     objective of this work is to maximize access to polls

     and to educate the community about voting rights. They

     have   also   provided     security       work   in   voting   related

     events and act as observers to determine if there has

     been any impropriety during the voting process.

•    Comforce engages in legislative and policy work. Van

     works with the Common Counsel on budgetary and school

     board issues. He has started campaigns to promote new

     and innovative policies for municipal programs. On one

     occasion, Van advocated for significant change in the

     Standard Operating Procedures for the Milwaukee Police

     Department. Van has coordinated with elected officials

     to   modify   or   introduce        new   policies,     procedures   or

     programs for student safety. He often attends public

     meetings regarding these issues or will provide written

     submissions.

•    On occasion, Comforce members will assist in locating


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     homeless and emergency shelters for individuals in need.

     For   a   period       of     time,       Comforce      raised      money       to   put

     people in hotels until there was a shelter opening.

•    One     of      the     team       members         is     a    trained          Narcan

     administrator, who if called, will assist in an overdose

     situation.

•    There     are    occasions           in    which     Comforce        will       assist

     families who have lost members due to violence, with

     their burial services.

•    Van and Comforce members maintain a natural disaster

     relief       division.        They      have    traveled       to    Mississippi,

     Arkansas, Louisiana and Texas for hurricane, tornado and

     freezing       conditions,           which     devastated          communities        in

     these states. Upon arrival, Van will coordinate with

     community organizers or elected officials to determine

     where     and    how     to    collaborate           in   distributing           food,

     water,    clothes,          hygiene       products,       building        materials,

     toys,     groceries         and    postnatal         necessities.          He    often

     encourages young people in Milwaukee to travel to these

     locations       so     they       can     participate         in    the     disaster

     relief.

•    Comforce has an annual Christmas ”giveaway” whereby Van


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            and the members of his team will arrive at the homes of

            people unannounced and give gifts to residents. This

            project has been ongoing for 11 years. The funds to

            purchase the items are from donation given in response

            to   a   social    media    campaign.          All    walks       of    life   and

            businesses donate. Thousands of dollars have been raised

            for this project.

    •       Comforce,    through       Van’s       direction,     has     created      Dream

            Team     United   Wisconsin           Incorporated.        This       entity   has

            regular or bimonthly pop-up pantries across the city.

            The organization is made up of different partnerships

            which contribute funds, materials and food to support

            these    events.    Van     is    on     the   Board       and    is    actively

            engaged in the different pantries. The objective is to

            create     the    pop-ups        around     the      city,       at    different

            locations, with no need restrictions so that more people

            can be served.

    Van’s dedication to his community and consistent altruism

has not gone unrecognized. Governmental authorities; businesses;

nonprofit    organizations;       law    enforcement;            the    media;       and   the

community at large have recognized Van as one of the outstanding

and impactful voices of Milwaukee. These are exemplified by the


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following:

     •   In 2023, Van received a medallion of recognition from

         the Milwaukee Fire Department Chief which is normally

         reserved    for    fire     fighters          who    have       done   something

         exceptional in the line of duty; Do Good, Be Good Award:

         “I am not here for me, I am here for we and we are here

         for them.”

     •   In two different locations, artists have erected city-

         scape murals which honor local heroes, activists and

         social justice leaders. Van is one of those who has been

         honored.

     •   Van received an award recognizing his contribution to

         the   Running      Rebels.        This       program       is    dedicated      to

         assisting youth in the Milwaukee community.

     •   Van has received several honorary awards from “Wisconsin

         Voices.”

     •   Van   has    received       an        honorary      award       for    community

         leadership     and     service        by     the    Community         Agriculture

         Growing Experience.

     •   Van   received     the    Milwaukee          Centennial         OMG    Award   for

         entrepreneurs, small businesses and community activists.

     •   In 2023 Van was awarded the Thriver Accommodation as the


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     founder of Comforce and specifically for work which was

     centered on preventing domestic violence.

•    In    2022   Van     was   presented     with   the     Black   Excellence

     Award in recognition of his contributions to the safety

     and security of the community.

•    In 2016 Van was given the Eric Von Memorial Black Male

     Achievement        Recognition        Award    for     his   activism    and

     community organizations efforts.

•    Van has often been invited to be a panel member with

     city officials, state representatives and members of the

     judiciary to discuss social policy issues. Some of the

     considerations center around pardons, expungements and

     prison reform, while other address timely concerns in

     Milwaukee. Van is often the “go-to” person for comments

     on behalf of the community. The media regularly seeks

     Van out for contributions which reflect community views

     and opinions.

•    Van    is    often    invited    for    open    events       which   promote

     different community initiatives. On those occasions, his

     input is sought to assist in formulating resolution to

     common, local problems.

•    For several years, Van produced a weekly activist and


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            advocacy     podcast       which     addressed         civic    based     and

            community based issues.

      •     Van has been recognized as Activist of the Year on two

            occasions, as well as in 2024, by Milwaukee Magazine.

      Virtually each one of the 104 defense exhibits previously

submitted to the court provide a pictorial chronology of Van

Mayes’ accomplishments and community activism.

      It is abundantly clear from the information provided in this

instant memorandum that Milwaukee, Wisconsin is a safer and more

stable community than it would be in Van Mayes’ absence. He has

filled     the void, which had been present in this community: an

adovcate for equality, security and peaceful coexistence with law

enforcement. Through his efforts, countless children’s lives have

been enriched. The wide ranging efforts that Van, Comforce and

Program the Parks have expended, have reaped amazing results.

Unquestionably, his goal to better the community will continue

and   increase.    Van    emerged      from    a     childhood      of     discord    and

disharmony to the life which he shares and enjoys today. He is a

man   of    genuine    good    character,          unparalleled       sincerity       and

ceaseless    energy.     He   is   a    person      of   whom      Milwaukee    can   be

rightfully proud and can look to in the never-ending quest for

security, productive public discourse and the enrichment of our


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children.

     The offense conduct for which Van was indicted purportedly

occurred in August of 2016. He was not indicted until July of

2018. He has been supervised by pre-trial services for the past

six and a half years with flawless compliance. He was also not

involved in any illegal activities in the two years between the

alleged offense and the time the charges were issued. During

Van’s 37 years, he has suffered one single criminal conviction,

that when he was 18 years old, in 2005.

     The manner in which he has comported himself over the years,

both before and after the incident, clearly demonstrates that the

charged offense was an anomaly. It is hoped that the lynchpin for

the resolution of this case will be the contributions that he has

given to this community, rather than an incident in the distant

past. The prognosis for Van Mayes’ success is extraordinarily

positive. That prediction is justifiably supported by his own

assessment of the case and his own personal journey; “I’m just

more focused on the growth I’ve had from now. That transition has

been a long way. I can see for this particular charge, I do

understand I’ve had to understand people cling to my every word.

I have to be extremely careful with the things that I say and the

things that I do, because you can’t control how words influence


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people. I’m more conscious and intentional about what I say and

do. It’s one thing to be poor, but to be an adult and doing the

actual work, but not getting a dime for it, caused me to be

homeless.    This   case     has   changed      everything   in    my    life,   from

people not liking me, or cops trying to arrest me and target me,

trust   issues,     safety     concerns,        causing   extreme       relationship

issues.”



                              CONCLUSION



     Upon the foregoing, it is respectfully requested that the

court impose the joint disposition recommended by the parties for

credit for time served and with no further supervised release

requirement.

            Dated at Milwaukee, Wisconsin this 27th day of December,

2024.

                                              Respectfully submitted,

                                              /s/ Robert G. LeBell

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